Case 2:05-cr-20289-.]DB Dooument 7 Filed 08/15/05 Page 1 of 2 Page|D 8

  

|N THE UN|TED STATES D|STR[CT COUFiT
FOF{ THE WESTERN D|STFi|CT OF TENNESSEE §1-.;[1;[;; ij pig 2; 151
WESTEFlN D|VIS|ON "" 'W

 

 

UN|TED STATES OF AMER|CA,
P|aintiff,

CR. No. 05-20289-|3 /
05-20040-B

VS
W|LL|E E. TAYLOFl,

Defendant.

`_/VV`_/\./~_/V\_/V\_/\_/

 

OFiDEFi ON GU|LTY PLEA

 

This oause came onto be heard on August 15, 2005, the United States Attorney for this
Distriot, Cami||ie N|chu||en, appearing for the Government and the defendant, Wi||ie E.
Tay|or, appearing in person and with oounsel, Pame|a Hamrin, representing the defendant

With leave of the Court and through Counse|, the defendant entered a plea of guilty
to Count One of the |nformation. P|ea Col|oquy Was held and the Court accepted the guilty
plea.

The United States Wi|l move to dismiss Case Number 05-20040-B at the Sentencing
Hearing.

SENTENC|NG is hereby SET on Wednesday, November 16, 2005, at
9:00 a.m., in Courtroom No.1, on the 11th floor before Judge J. Danie| Breen.

'l'he defendant is remanded to the custody of the U. S. |Vlarsha|.

-l¢{?\
ENTERED this the f day of August, 2005.

M

L BREEN
| ED STATES D|STF{|C\T JUDGE

i'-.i .,¢_. comment 3 e ed on .i.e t,our€t,l. ili.s§ ii u iap':iu;ai,.o

Wim RU!Q 55 endi'or 32(':)) FRCrP on _§::WQ_F'ZHQ§TWW_ ©

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20289 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

